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                              ',675,&72)0$66$&+86(776

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*25'21&$3/$1                                                Leave to file granted on 9/25/2019



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        *RUGRQ &DSODQ¶V OLIH KDV EHHQ FKDUDFWHUL]HG E\ GHGLFDWLRQ WR RWKHUV²KLV IDPLO\ KLV

FOLHQWVKLVIULHQGVHYHQVWUDQJHUVLQQHHG+HLVDKXVEDQGDQGWKHIDWKHURIWZRWHHQDJHFKLOGUHQ

ZKRP KH ORYHV PRUH WKDQ DQ\WKLQJ LQ WKLV ZRUOG  8QWLO 0DUFK   *RUGRQ ZDV DOVR D

SURPLQHQW FRUSRUDWH WUDQVDFWLRQDO ODZ\HU DQG FRFKDLU RI RQH RI WKH FRXQWU\¶V SUHHPLQHQW ODZ

ILUPV+HKDGFRQWULEXWHGFRXQWOHVVKRXUVDQGPRQH\WRFKDULWDEOHFDXVHVWKURXJKKLVpro bono

OHJDOZRUNDQGPDQ\SKLODQWKURSLFHQGHDYRUV*RUGRQHPERGLHGWKHLGHDOVRIKDUGZRUNOR\DOW\

DQGFRPSDVVLRQIRURWKHUV+HZDVDWWKHSLQQDFOHRIKLVOLIHDQGKLVSURIHVVLRQ²DQGDOORIWKDW

YDQLVKHGLQDQLQVWDQWZKHQKHZDVDUUHVWHGIRUKLVFULPLQDOFRQGXFWLQWKLVFDVH

        1RZDEURNHQPDQWU\LQJWRSLFNXSWKHSLHFHVRIDOLIHWKDWKDVEHHQIRUHYHUFKDQJHG

*RUGRQDSSHDUVEHIRUHWKLVKRQRUDEOH&RXUWIRUVHQWHQFLQJ7KH&RXUWLVIDFHGZLWKWKHGDXQWLQJ

WDVN RI GHFLGLQJ ZKDW DGGLWLRQDO SXQLVKPHQW²EH\RQG KLV UXLQHG UHSXWDWLRQ WKH IXQGDPHQWDO

EUHDFKRIKLVGDXJKWHU¶VWUXVWKLVIRUIHLWHGOLYHOLKRRGDQGWKHGHVWUXFWLRQRIKLVOHJDOFDUHHU²LV

VXIILFLHQWEXWQRWJUHDWHUWKDQQHFHVVDU\WRDFKLHYHWKHREMHFWLYHVRIWKHVHQWHQFLQJSURFHVV



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                       ,QDWR[LFPL[RIWHQVHIDPLO\LVVXHVDWKRPHDJJUHVVLYHUHFUXLWLQJDQG

FROOHJH³DGYLVRU\´SLWFKHV*RUGRQNQRZVQRZWKDWKHDOORZHGKLPVHOIWRIDOOSUH\WRKLVRZQHJR

DQG DPELWLRQV IRU KLV FKLOGUHQ FRQIXVLQJDGHVLUHGUHVXOWZLWK ZKDW ZDV EHVW IRU KLV GDXJKWHU

*RUGRQUHFRJQL]HVKRZFOHDUO\ZDUSHGKLVWKLQNLQJZDV

        8SRQKLVDUUHVW*RUGRQLPPHGLDWHO\DFFHSWHGUHVSRQVLELOLW\IRUKLVPLVFRQGXFWDQGKDV

QRWVRXJKWWRPLQLPL]HLWLQDQ\ZD\+HNQHZZKDWKHGLGZDVZURQJDQGWKDWKHQHHGHGWRVWHS

XSSURPSWO\DQGVWDUWGRZQWKHORQJSDLQIXOURDGRIUHGHPSWLRQ+HLVDFXWHO\DZDUHWKDWKHKXUW

KLVGDXJKWHUEDGO\+HLVGHHSO\DVKDPHGWKDWKLVDFWLRQVKDYHFRQWULEXWHGWRWKHLGHDWKDWZHDOWK

DQGSULYLOHJHDUHPRUHLPSRUWDQWLQWKHFROOHJHDGPLVVLRQVSURFHVVWKDQPHULW

        *RUGRQ¶VHIIRUWVWRUHSDLUWKHGDPDJHKHKDVFDXVHGEHJDQLPPHGLDWHO\1RWRQO\GLGKH

H[HFXWHDSOHDDJUHHPHQWZLWKWKHJRYHUQPHQWMXVWWKUHHZHHNVDIWHUKLVZRUOGZDVWXUQHGXSVLGH

GRZQZLWKKLVVKRFNLQJDUUHVWKHZDVWKHYHU\ILUVWGHIHQGDQWLQWKH9DUVLW\%OXHVLQYHVWLJDWLRQ

WR LVVXH D SXEOLF DGPLVVLRQ RI UHVSRQVLELOLW\ DQQRXQFH KLV LQWHQW WR SOHDG JXLOW\ DQG H[SUHVV

UHPRUVHWRWKHIUHQ]LHGPHGLD*RUGRQWRRNIXOOUHVSRQVLELOLW\IRUKLVDFWLRQVH[SUHVVLQJKLVUHJUHW

DQGDSRORJL]LQJWRDOOWKHVWXGHQWVDQGSDUHQWVZKRSOD\E\WKHUXOHVLQWKHFROOHJHDGPLVVLRQV

SURFHVV$IWHUKLVJXLOW\SOHDKHDULQJ*RUGRQZDVDJDLQWKHYHU\ILUVWDQGWRGDWHRQO\9DUVLW\

%OXHVSDUHQWWRIDFHWKHEDWWHU\RIFDPHUDVRXWVLGHWKH86&RXUWKRXVHDQGUHLWHUDWHKLVUHPRUVH

DQGDFFHSWIXOOUHVSRQVLELOLW\IRUKLVFRQGXFW+HVFUHZHGXS+HFRPPLWWHGDFULPH+HKDV

RZQHGLW+HZDVDKLJKO\VNLOOHGODZ\HUZKRVKRXOGKDYHNQRZQEHWWHU<HWWKH*RUGRQ&DSODQ

ZKRZDVRQWKHSKRQHZLWK5LFN6LQJHUZDVDIDWKHUORRNLQJDWDQHDVLHUSDWKIRUZDUGKLVUROHDV

DFRUSRUDWHODZ\HUZDVSHULSKHUDOWRWKLVFRQGXFW$QG*RUGRQKDVSDLGGHDUO\ERWKSHUVRQDOO\

DQGSURIHVVLRQDOO\7KHGDPDJHWKDW*RUGRQ¶VFRQGXFWKDVYLVLWHGXSRQWKHSHRSOHPRVWSUHFLRXV




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LQKLVOLIHDQGVWXGHQWVKHZLOOQHYHUPHHWZLOOUHYHUEHUDWHIRU\HDUV,QDUULYLQJDWDMXVWVHQWHQFH

KHUH*RUGRQUHVSHFWIXOO\DVNVWKH&RXUWWRFRQVLGHUVHYHUDOLPSRUWDQWIDFWRUV

        First, *RUGRQ¶V IDPLO\ VLWXDWLRQ SHUVRQDO KLVWRU\ DQG WKH VSHFLILF FLUFXPVWDQFHV

VXUURXQGLQJKLVGDXJKWHUZKRLWLVQRWGLVSXWHGKDGQRNQRZOHGJHRIKLVDFWLRQVDUHPLWLJDWLQJ

IDFWRUV3HUYHUVHO\DQDFW*RUGRQLQWHQGHGWRKHOSKLVGDXJKWHUKDGWKHH[DFWRSSRVLWHHIIHFW

*RUGRQ¶V FRQGXFW LQFUHDVHG H[SRQHQWLDOO\ WKH HPRWLRQDO LQWHQVLW\ RI WKLV SHULRG MXVW DV KLV

GDXJKWHULVQRZEHJLQQLQJKHUVHQLRU\HDURIKLJKVFKRRO+HVKRXOGKDYHVHHQWKHREYLRXVDERXW

KRZKDUPIXOWKHSDWKKHFKRVHZRXOGEH$VH[SODLQHGEHORZLQFDUFHUDWLQJ*RUGRQZRXOGDOVR

KDYHYHU\VHULRXVDGYHUVHHIIHFWVRQKLVVRQ7DNLQJ*RUGRQDZD\IURPKLVWHHQDJHFKLOGUHQDQG

ZLIHDWWKLVFULWLFDOPRPHQWLQWKHLUOLYHVZRXOGRQO\ZRUVHQWKHVLWXDWLRQDWKRPH                   

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        Second,*RUGRQ¶VOLIHRIQXPHURXVVHOIOHVVDFWVRQEHKDOIRIIDPLO\IULHQGVDQGSHRSOHKH

NQHZRQO\WDQJHQWLDOO\LVDPSO\GHPRQVWUDWHGLQWKHPRUHWKDQILYHGR]HQOHWWHUVVXEPLWWHGRQKLV

EHKDOI  *LYLQJ EDFN WR KLV FRPPXQLW\ DQG KHOSLQJ RWKHUV LQ QHHG KDYH EHHQ FRQVWDQW WKHPHV

WKURXJKRXW*RUGRQ¶VOLIH7KHEUHDGWKDQGGHSWKRIWKHVXEPLVVLRQVRQ*RUGRQ¶VEHKDOIIURPVR

PDQ\SHRSOHKHKDVJLYHQKLVWLPHWRKHOSRYHUWKH\HDUVDUHWUXO\UHPDUNDEOH6LQFHWKHWLPHRI

KLVDUUHVW*RUGRQKDVUHGRXEOHGKLVYROXQWHHULQJHIIRUWVZLWKDWULVNFKLOGUHQ7KHSXUSRVHVRI

VHQWHQFLQJZRXOGEHEHWWHUVHUYHGE\DOORZLQJ*RUGRQWRUHPDLQLQWKHFRPPXQLW\GHGLFDWLQJKLV

WLPHWRFRQWLQXLQJWKHSRVLWLYHLPSDFWKHLVPDNLQJRQWKHOLYHVRIDWULVNFKLOGUHQ

        Third, *RUGRQ KDV DOUHDG\ VXIIHUHGHQRUPRXVFRQVHTXHQFHV+LVIDPLOLDOUHODWLRQVKLSV

KDYHEHHQIXQGDPHQWDOO\DOWHUHGDQG*RUGRQZLOOVSHQG\HDUVWU\LQJWRGHPRQVWUDWHWRKLVFKLOGUHQ




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DQGWKHODUJHUFRPPXQLW\WKDWWKLVRQHLQFLGHQWVKRXOGQRWGHILQHKLPDVDSHUVRQ3URIHVVLRQDOO\

*RUGRQ KDG WR UHVLJQ KLV SRVLWLRQ DV SDUWQHU DQG FRFKDLU DW :LOONLH )DUU  *DOODJKHU //3

    ³:LOONLH )DUU´  DQG KH VKRUWO\ ZLOO EH XQDEOH WR SUDFWLFH ODZ²WKH RQO\ FDUHHU KH KDV HYHU

NQRZQ²IRUDWOHDVWVRPHSHULRGRIWLPH7KH$WWRUQH\*ULHYDQFH&RPPLWWHHIRUWKH6XSUHPH

&RXUW RI WKH 6WDWH RI 1HZ <RUN $SSHOODWH 'LYLVLRQ )LUVW -XGLFLDO 'HSDUWPHQW FRPPHQFHG

GLVFLSOLQDU\ SURFHHGLQJV DJDLQVW *RUGRQ RQ -XO\   DQG KH KDV FRQVHQWHG WR DQ LQWHULP

VXVSHQVLRQ SHQGLQJ WKH IXOO RXWFRPH RI WKRVH SURFHHGLQJV  ,W LV H[SHFWHG WKDW WKH LQWHULP

VXVSHQVLRQZLOOVRRQEHRUGHUHGE\WKH &RXUW*RUGRQ KDVDOVRKDGWRUHVLJQERDUGSRVLWLRQV

UHFHLYHG YLFLRXV KDWH PDLO DQG WKUHDWV DQG KH DQG KLV IDPLO\ KDYH EHHQ SXEOLFO\ KXPLOLDWHG

*RUGRQ¶VKDUGHDUQHGVSRWOHVVUHSXWDWLRQEXLOWRYHUD\HDUFDUHHULVUXLQHG

           Fourth,WKHQDWXUHDQGFLUFXPVWDQFHVRI*RUGRQ¶VRIIHQVHGRQRWZDUUDQWLQFDUFHUDWLRQ

*RUGRQZDVDOLPLWHGSDUWLFLSDQWLQ5LFN6LQJHU¶VRYHUDUFKLQJVFKHPH+HFRQVSLUHGZLWK0U

6LQJHUWRFKHDWRQKLVGDXJKWHU¶V$&7H[DP(YHQWKRXJK0U6LQJHUDWWHPSWHGWRJHWKLPWR

HQJDJHLQRWKHULOOLFLWFRQGXFWVXFKDVWKHDWKOHWLFV³VLGHGRRU´DWLVVXHZLWKPDQ\RWKHU9DUVLW\

%OXHVSDUHQWV*RUGRQH[SUHVVO\UHMHFWHGWKRVHRWKHURIIHUV*RUGRQZDVQRWD³UHSHDWSOD\HU´

ZKRSDUWLFLSDWHGLQPXOWLSOHDVSHFWVRI0U6LQJHU¶VVFKHPHVRUIRUPXOWLSOHFKLOGUHQ*RUGRQGLG

QRWLQYROYHKLVGDXJKWHULQWKHVFKHPH²5&KDGQRNQRZOHGJHRI*RUGRQ¶VFRQGXFWZKDWVRHYHU

DVWKHJRYHUQPHQWFRQILUPHGDWWKHSOHDKHDULQJ*RUGRQGLGQRWSXUVXHDWD[GHGXFWLRQRIIHUHG

E\ 0U 6LQJHU HYHQWKRXJK WKH JRYHUQPHQW KDV DOOHJHG WKDW PDQ\RWKHU9DUVLW\%OXHVSDUHQWV

VRXJKWDWD[ZULWHRII

           Fifth,LQIDVKLRQLQJDVHQWHQFHWKDWLVVXIILFLHQWEXWQRWJUHDWHUWKDQQHFHVVDU\WKH&RXUW

VKRXOGDYRLGXQZDUUDQWHGGLVSDULWLHVZLWKVLPLODUO\VLWXDWHGGHIHQGDQWV-RKQ9DQGHPRHUGLGQRW

UHFHLYH DQ\ SULVRQ WLPH  )HOLFLW\ +XIIPDQ ZKR EDVLFDOO\ HQJDJHG LQ WKH VDPH FRQGXFW DV




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*RUGRQ²SD\LQJ 5LFN 6LQJHU KLV UHTXHVWHG IHH WR GHOLYHU DQ LQIODWHG VWDQGDUGL]HG WHVW VFRUH²

UHFHLYHGDGD\SULVRQVHQWHQFH'HYLQ6ORDQHZKRSDLGLQEULEHVWRKDYHKLVVRQ

DGPLWWHGWRWKH8QLYHUVLW\RI6RXWKHUQ&DOLIRUQLD ³86&´ DVDIDNHZDWHUSRORUHFUXLWUHFHLYHGD

VHQWHQFHRIPRQWKV¶LPSULVRQPHQW6WHSKHQ6HPSUHYLYRZKRSDLGLQEULEHVWRKDYH

KLVVRQDGPLWWHGWR*HRUJHWRZQ8QLYHUVLW\DVDIDNHWHQQLVSOD\HUDQGWKHQODWHUVXHG*HRUJHWRZQ

HYHQDIWHUSOHDGLQJJXLOW\DOVRUHFHLYHGDVHQWHQFHRIPRQWKV¶LPSULVRQPHQW2XWVLGHRIWKLV

FDVHVSHFLILFDOO\FRXQVHOKDVQRWLGHQWLILHGDQ\VLPLODUO\VLWXDWHGGHIHQGDQWFRQYLFWHGLQDWHVW

FKHDWLQJFDVHZKRKDVUHFHLYHGDGGLWLRQDOSULVRQWLPHDWVHQWHQFLQJUHJDUGOHVVRIWKHLU*XLGHOLQHV

FDOFXODWLRQ

           Sixth and finally,DGGLWLRQDO D IDFWRUVVXSSRUWWKHUHFRPPHQGHGVHQWHQFH*RUGRQ

KDVQHYHUEHHQFRQYLFWHGRIDQ\RIIHQVHDQGSUHVHQWV]HURULVNRIUHFLGLYLVP,QWHUPVRIJHQHUDO

GHWHUUHQFH *RUGRQ¶V KLJKSURILOH KXPLOLDWLRQ WKDW KDV EHHQ D E\SURGXFW RI WKH LQWHQVH PHGLD

FRYHUDJHDQGKLVSRVLWLRQDVWKH:LOONLH)DUUFRFKDLUKDVGLVVXDGHGDQ\SDUHQWZKRPLJKWKDYH

HYHUFRQVLGHUHGDVLPLODUVFKHPH*RUGRQKDVPDGHSXEOLFVWDWHPHQWVH[SUHVVLQJKLVUHPRUVHDQG

DFFHSWLQJUHVSRQVLELOLW\IRU KLV PLVFRQGXFW1RSDUHQWREVHUYLQJWKLVFDVHZLOOHYHUWKLQNWKDW

*RUGRQ³JRWDZD\ZLWKLW´DIWHUKLVHSLFGRZQIDOOIURPWKHWRSRIWKHOHJDOSURIHVVLRQWRDFRQYLFWHG

IHORQ

           $FFRUGLQJO\*RUGRQUHVSHFWIXOO\VXEPLWVWKDWDVHQWHQFHRILPSULVRQPHQWLVQRWZDUUDQWHG

XQGHUWKHFLUFXPVWDQFHVSUHVHQWLQWKLVFDVH1RQHWKHOHVV*RUGRQDFNQRZOHGJHVDQGUHVSHFWVWKH

IDFWWKDWWKH&RXUWLVQRWZULWLQJRQDFOHDQVODWHKDYLQJDOUHDG\VHQWHQFHG0V+XIIPDQWR

GD\V¶LQFDUFHUDWLRQIRUHVVHQWLDOO\WKHVDPHFRQGXFWDWLVVXHKHUH7DNLQJWKDWDGGLWLRQDOIDFWRU

LQWR FRQVLGHUDWLRQ *RUGRQ UHVSHFWIXOO\ VXEPLWV WKDW LI WKH &RXUW GHWHUPLQHV D SHULRG RI




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LQFDUFHUDWLRQLVZDUUDQWHGQRWZLWKVWDQGLQJWKHYDULRXVPLWLJDWLQJIDFWRUVLGHQWLILHGKHUHLQWKDW

VHQWHQFHVKRXOGQRWH[FHHGGD\V

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           %RUQLQ0RQWUHDO*RUGRQ¶VIDPLO\PRYHGWR1HZ<RUNZKHQKHZDV\HDUVROGZKHUH

KLV IDWKHU EHFDPH D VXFFHVVIXO REVWHWULFLDQ                                                                        

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3UHVHQWHQFH5HSRUWFRPSOHPHQWHGZLWKLQIRUPDWLRQIURPWKHQXPHURXVOHWWHUVVXEPLWWHGLQVXSSRUWRI*RUGRQ


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        *RUGRQ JUDGXDWHG &RUQHOO 8QLYHUVLW\ LQ   +H ZDV HQWUHSUHQHXULDO LQ FROOHJH DQG

VFUDSHGWRJHWKHUHQRXJKPRQH\WRVWDUWEX\LQJDQGUHQRYDWLQJVPDOOEXLOGLQJVLQ,WKDFDZKLFKKH

FRQWLQXHGGRLQJLQWRWKHVWKURXJKRXWXSVWDWH1HZ<RUN$URXQGWKDWWLPHKRZHYHUKLV

IDWKHUDOPRVWZHQWLQWRSHUVRQDOEDQNUXSWF\EHFDXVHKHZDVRYHUO\LQYHVWHGLQUHDOHVWDWH*RUGRQ

VWDUWHG DW )RUGKDP /DZ 6FKRRO LQ  DQG RYHU WKH HQVXLQJ WKUHH \HDUV *RUGRQ ZDV

VLPXOWDQHRXVO\WDNLQJFODVVHVDQGKHOSLQJKLVIDWKHUUHVROYHKLVILQDQFLDOLVVXHV

        *RUGRQWKULYHGLQODZVFKRROJUDGXDWLQJQHDUWKHWRSRIKLVFODVVDQGVHUYLQJDVDQHGLWRU

RIWKH/DZ5HYLHZ+HVWDUWHGKLVOHJDOFDUHHUDW6LPSVRQ7KDFKHU %DUWOHWW//3LQ1HZ<RUN

IRFXVLQJ RQ FRUSRUDWH WUDQVDFWLRQDO ZRUN IRU SULYDWH HTXLW\ ILUPV DQG WHFKQRORJ\ FRPSDQLHV

:KLOH KH ZDV ZRUNLQJ ORQJ KRXUV DQG WKULYLQJ SURIHVVLRQDOO\ *RUGRQ KDG PRUH SHUVRQDO

FKDOOHQJHV  ,Q  KLV PRWKHU ZDV GLDJQRVHG ZLWK VWDJHIRXU OXQJ FDQFHU ZKLFK UHTXLUHG

DJJUHVVLYHDQGSDLQIXOFKHPRWKHUDS\UDGLDWLRQDQGVXUJHULHV6KHILQDOO\ORVWKHUORQJEDWWOHLQ

$XJXVW  MXVW GD\V EHIRUH *RUGRQ VWDUWHG DW :LOONLH )DUU  7KH HQWLUH &DSODQ IDPLO\ ZDV

GHYDVWDWHG*RUGRQZDVHVSHFLDOO\GHSUHVVHGDVKLVPRWKHUZDVKLVFORVHVWFRQILGDQWHDQGORVLQJ

KHUZDVWUHPHQGRXVO\GLIILFXOW

        ,Q  *RUGRQ PDUULHG $P\ 7UHLELFN ZKRP KH KDG NQRZQ VLQFH FKLOGKRRG             

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WKURXJK WLUHOHVV KDUG ZRUN DQG ]HDORXV FOLHQW FRPPLWPHQW  *RUGRQ EHFDPH D OHDGHU LQ WKH

FRUSRUDWHOHJDOFRPPXQLW\SXEOLVKLQJDUWLFOHVVSHDNLQJSURIHVVLRQDOO\DQGJHQHUDOO\VHUYLQJDV

D PHQWRU DQG UROH PRGHO IRU \RXQJHU DWWRUQH\V  +H DOVR EHFDPH LQYROYHG LQ PDQDJHPHQW RI

:LOONLH)DUUHYHQWXDOO\EHLQJHOHYDWHGWRFRFKDLURIWKHILUPLQ*RUGRQZDVQDWLRQDOO\

UHFRJQL]HG E\ OHDGLQJ OHJDO SXEOLFDWLRQV DQG LQ  KH ZDV QDPHG $PHULFDQ /DZ\HU¶V

³'HDOPDNHURIWKH<HDU´7KHVHSURIHVVLRQDODFFRPSOLVKPHQWVKDYHPDGH*RUGRQ¶VVXVSHQVLRQ




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IURPWKHSUDFWLFHRIODZWKHRQO\SURIHVVLRQKHKDVHYHUNQRZQSV\FKRORJLFDOO\DQGHPRWLRQDOO\

GHYDVWDWLQJ

           ,QDGGLWLRQWRKLVIDPLO\DQGFOLHQWZRUNYROXQWHHULQJDQGSKLODQWKURS\ KDYHDOZD\VEHHQ

FHQWUDOWR*RUGRQ+HKDVGRQHpro bonoOHJDOZRUNIRU3XEOLFRORU/HDGHUVKLS(QWHUSULVHIRUD

'LYHUVH $PHULFDDQGWKH$O]KHLPHU¶V'UXJ5HFRYHU\)RXQGDWLRQ3XEOLFRORULVDVPDOO 1HZ

<RUN&LW\QRQSURILWIRFXVLQJRQDWULVNSXEOLFVFKRROVWXGHQWVDQGLWLVSHUKDSVEHVWNQRZQIRU

UHIXUELVKLQJGLODSLGDWHGSXEOLFVFKRROV3XEOLFRORUDOVRSURYLGHVLQWHQVLYHWXWRULQJDQGPHQWRULQJ

SURJUDPVFULWLFDOWRLWVPLVVLRQRIPDNLQJVXUHWKHPRVWDWULVNVWXGHQWVLQPDQ\RI1HZ<RUN

&LW\¶VPRVWFKDOOHQJHGSXEOLFVFKRROGLVWULFWVJUDGXDWHKLJKVFKRROJHWLQWRFROOHJHDQGVXFFHHG

LQFROOHJH3XEOLFRORUKDVDUREXVWFROOHJHVFKRODUVKLSSURJUDPWKDW*RUGRQZDVWKHGULYLQJIRUFH

EHKLQGFUHDWLQJDQGIXQGLQJ*RUGRQVWDUWHGYROXQWHHULQJKLVWLPHZLWK3XEOLFRORUVWXGHQWVDQG

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\HDUVDV%RDUG&KDLU*RUGRQKDVGHYRWHGZHOORYHUDWKRXVDQGKRXUVRIKLVWLPHWR3XEOLFRORU

GRQDWHGPRUHWKDQDQGUDLVHGDQRWKHUIRU3XEOLFRORUWKURXJKKLVQHWZRUN

           *RUGRQKDVDOVRPDLQWDLQHGDFORVHFRQQHFWLRQWR)RUGKDP/DZ6FKRROGRQDWLQJERWKKLV

WLPHDQGPRQH\+HZDVDPHPEHURIWKH'HDQ¶V3ODQQLQJ&RXQFLO ³'3&´ IRUFORVHWRWHQ\HDUV

XQWLOKLVDUUHVW$V)RUGKDP/DZ6FKRRO'HDQ0DWWKHZ'LOOHUH[SODLQVLQKLVOHWWHUWKH'3&LVD

NH\DGYLVRU\ERG\WKDWPHHWVUHJXODUO\WRDVVLVWZLWKFXUULFXOXPDQGSURJUDPGHYHORSPHQWSee

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VFKRODUVKLSLQKLVPRWKHU¶VQDPHH[SUHVVO\HDUPDUNHGHDFK\HDUWRVXSSRUWDIHPDOHVWXGHQWZLWK

GHPRQVWUDWHGILQDQFLDOQHHGDQGWRVXSSRUW WKH ODZVFKRRO¶V QHZ $FFHVV WR -XVWLFH ,QLWLDWLYH

*RUGRQZDVDOVRWKHILUVWPDMRUFRQWULEXWRUWRWKH)RUGKDP/DZ'HDQ¶V&ULPLQDO-XVWLFH3URJUDP

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7KDWZLOODOVRUHPDLQ>P\@SUHFLRXVPHPRU\RIWKLVODQG´See([$ .DVKNRROLOHWWHU $V

IXUWKHUGHPRQVWUDWHGEHORZWKLVW\SHRIVHOIOHVVDFWLRQE\*RUGRQKDVPDUNHGKLVHQWLUHDGXOWOLIH

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        *RUGRQ PHW 5LFN 6LQJHU LQ -XQH  WKURXJK KLV GDXJKWHU¶V FROOHJH DGYLVRU ZKRP

*RUGRQWUXVWHGYHU\PXFK7KHFROOHJHDGYLVRUZDVDKLJKO\UHVSHFWHGIRUPHUFROOHJHWHQQLVFRDFK

DQGWKHIRUPHUKHDGRIFROOHJHSODFHPHQWDW,0*$FDGHP\DQLQWHUQDWLRQDOO\NQRZQKLJKVFKRRO

WHQQLVVSRUWVDFDGHP\*LYHQ5&¶VQDWLRQDOUDQNLQJDVDMXQLRUWHQQLVSOD\HUWKH&DSODQVZKR

ZHUH QHZ WR WKH FROOHJH DGPLVVLRQV SURFHVV DQG VSHFLILFDOO\ WKH FROOHJLDWH DWKOHWLF UHFUXLWLQJ

SURFHVVKDGEHHQDSSURDFKHGE\FRXQWOHVVFROOHJH³WXWRUV´³FRXQVHORUV´DQG³DGYLVRUV´0DQ\

RIWKRVHSHRSOHRIIHUHGWKH&DSODQVH[SHQVLYH³VHUYLFHV´LQFOXGLQJDSSOLFDWLRQDQGHVVD\ZULWLQJ

DVZHOODVIDEULFDWLQJVWXGHQWSURILOHV7KH&DSODQVGLGQRWHQJDJHDQ\RIWKRVHFRXQVHORUV%DVHG

RQWKHLUWUXVWHGDGYLVRU¶VJORZLQJUHFRPPHQGDWLRQRI0U6LQJHU*RUGRQEHJDQWRVSHDNZLWK

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WKURXJKWKHWUXVWHGFROOHJHDGYLVRUHQWHUHG*RUGRQ¶VOLIH*RUGRQ&DSODQZDVSHUIHFWIRGGHUIRU

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IDPLO\VLWXDWLRQ7KHUHLVQRTXHVWLRQWKDWWKHXOWLPDWHUHVSRQVLELOLW\IRUWKLVFRQGXFWUHVWVVROHO\

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IULHQGDQGWKHKHDGRIWKHILUP¶V)UDQNIXUW*HUPDQ\RIILFHWRRNKLVRZQOLIHDWDJHOHDYLQJKLVZLIHDQGWZR\RXQJ
VRQV:LWKLQGD\V*RUGRQZDVRQWKHVFHQHLQ*HUPDQ\PHHWLQJLQGLYLGXDOO\ZLWKDOORUVRSHRSOHLQWKH)UDQNIXUW
RIILFHWRKHOSWKHPGHDOZLWKWKHWUDJLFHYHQWV
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  *RUGRQ¶VFRPPHQWRQWKHZLUHWDSWKDWKHZDVQRWFRQFHUQHGZLWKWKH³PRUDOLVVXH´RIWKHSODQ0U6LQJHUSURSRVHG
LV LQH[FXVDEOH MXVW OLNH WKH FRQGXFW KH HQJDJHG LQ ZLWK 0U 6LQJHU  ,Q PDQ\ UHVSHFWV WKLV FDOORXV VWDWHPHQW
XQGHUVFRUHV*RUGRQ¶VVHQVHRIGHVSHUDWLRQWRKHOSKLVGDXJKWHUDQGWKHGHJUHHWRZKLFKKLVPRUDOFRPSDVVZDVRXW


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ZLWK *RUGRQ EXW 5LFN 6LQJHU SOLHG KLV WUDGH E\ HQVQDULQJ SDUHQWV ZKRVH PRUDO DQG HWKLFDO

FRPSDVVHVZHUHZHDNHQHGRUFRPSURPLVHGIRUVRPHUHDVRQ7KDWLVWKHFULWLFDOFRQWH[WIRUKRZ

*RUGRQ&DSODQHQGVXSEHIRUHWKH&RXUWWREHVHQWHQFHGRQDIHORQ\FRQYLFWLRQ²DQLVRODWHGJUDYH

EUHDFKRIKLVSHUVRQDOLQWHJULW\PDGHLQDPRPHQWRIZHDNQHVVWKDWVWDQGVLQVKDUSFRQWUDVWWRWKH

OLIHSRUWUD\HGLQWKHGR]HQVRIOHWWHUVVXEPLWWHGWRWKLV&RXUWIURPKLVIDPLO\DQGIULHQGV

           $WILUVW0U6LQJHURIIHUHG*RUGRQWUDGLWLRQDOFRXQVHOLQJDQGWXWRULQJVHUYLFHVDVSDUWRI

WKHFROOHJHDGPLVVLRQVSURFHVV+HLQLWLDOO\GLVFXVVHGKHOSLQJ*RUGRQ¶VGDXJKWHUZLWKWXWRULQJ

GUDIWLQJ DSSOLFDWLRQV DQG SUHSDULQJ IRU KHU VWDQGDUGL]HG WHVWV  *RUGRQ DJUHHG WR HQJDJH 0U

6LQJHU DQG KLV FRPSDQ\ IRU WKHVH OHJLWLPDWH WXWRULQJ VHUYLFHV DQG JXLGDQFH LQ WKH DGPLVVLRQV

SURFHVV  +H DOVR UHJUHWWDEO\ VXFFXPEHG WR 0U 6LQJHU¶V ZHOOKRQHG SLWFK WR FKHDW RQ KLV

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IUDXGXOHQW VFKHPHV WKDW 0U 6LQJHU UHSHDWHGO\ SURSRVHG LQFOXGLQJ WKH DWKOHWLFV ³VLGH GRRU´

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6LQJHUZKLFKDUHDWLVVXHZLWKPDQ\RWKHU9DUVLW\%OXHVSDUHQWV

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       *RUGRQTXLFNO\JUDVSHGWKHPDJQLWXGHRIWKHKDYRFKHKDGFDXVHG+HNQHZLQVWDQWO\WKDW

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KDGLQIOLFWHGDGHYDVWDWLQJ²DQGLQWHQVHO\SXEOLF²EORZWRWKH\RXQJYXOQHUDEOHSHUVRQKHZDV

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GHSULYHGDGHVHUYLQJVWXGHQWRIDFROOHJHDGPLVVLRQVVORW\HWKHZDVNHHQO\DZDUHWKDWKHZDVD

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PDQ\ UHVSHFWV ZKDWHYHU VHQWHQFH WKLV &RXUW LPSRVHV NQRZLQJ WKDW KH KXUW KLV GDXJKWHU VR

LQWHQVHO\²DQGGHHSHQHGVRFLHWDOF\QLFLVPDERXWWKHIDLUQHVVRIWKHFROOHJHSURFHVV²ZLOOEHWKH

JUHDWHVWSXQLVKPHQW*RUGRQVXIIHUV

       *RUGRQPDGHLWKLVPLVVLRQRQWKHGD\RIKLVDUUHVWWRFRPPLWWRUHSDLULQJDOOWKHGDPDJH

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UHVSRQVLELOLW\%HIRUHWKLVFDVHZDVHYHQDVVLJQHGWRDMXGJH*RUGRQZDVWKHYHU\ILUVWSDUHQWWR

LVVXHDSXEOLFVWDWHPHQWDSRORJL]LQJIRUKLVDFWLRQVDQGH[SUHVVLQJUHPRUVH2Q$SULO*RUGRQ

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       ,WDNHIXOODQGVROHUHVSRQVLELOLW\IRUP\FRQGXFWDQG,DPGHHSO\DVKDPHGRIP\
       EHKDYLRUDQGP\DFWLRQV,DSRORJL]HQRWRQO\WRP\IDPLO\IULHQGVFROOHDJXHV
       DQG WKH OHJDO %DU EXW DOVR WR VWXGHQWV HYHU\ZKHUH ZKR KDYH EHHQ DFFHSWHG WR
       FROOHJHWKURXJKWKHLURZQKDUGZRUN,ZDQWWRPDNHFOHDUWKDWP\GDXJKWHUZKRP
       , ORYH PRUH WKDQ DQ\WKLQJ LQ WKH ZRUOG LV D KLJK VFKRRO MXQLRU DQG KDV QRW \HW
       DSSOLHGWRFROOHJHPXFKOHVVEHHQDFFHSWHGE\DQ\VFKRRO6KHKDGQRNQRZOHGJH
       ZKDWVRHYHUDERXWP\DFWLRQVKDVEHHQGHYDVWDWHGWROHDUQZKDW,GLGDQGKDVEHHQ
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       0\LPPHGLDWHJRDOLVWRIRFXVRQPDNLQJDPHQGVIRUP\DFWLRQVWRWU\WRZLQEDFN
       WKHWUXVWDQGUHVSHFWRIP\GDXJKWHUP\IDPLO\DQGP\FRPPXQLW\7KHUHPRUVH
       DQGVKDPHWKDW,IHHOLVPRUHWKDQ,FDQFRQYH\
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       9DUVLW\ %OXHV FROOHJH DGPLVVLRQV LQYHVWLJDWLRQ DQG GHGLFDWH P\VHOI WR WU\LQJ WR
       ULJKWWKLVZURQJ
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2WKHUGHIHQGDQWVVRRQIROORZHGKLVOHDGHYHQDGRSWLQJKLVODQJXDJH$IWHUWHQGHULQJKLVSOHDWR

WKH&RXUWRQ0D\*RUGRQZDVWKHILUVW9DUVLW\%OXHVSDUHQWDQGWKHRQO\RQHWRGDWHWRIDFH

WKH PHGLD VFUXP RXWVLGH WKH FRXUWKRXVH XQHTXLYRFDOO\ DFFHSW VROH UHVSRQVLELOLW\ IRU KLV

PLVFRQGXFWDQGDSRORJL]HWRDOOFROOHJHDSSOLFDQWVDQGWKHLUIDPLOLHVDWODUJH

       *RUGRQKDVXVHGWKLVSHULRGVLQFHKLVDUUHVWWREHZLWKKLVIDPLO\DQGLQFUHDVHKLVSXEOLF

VHUYLFHFRPPLWPHQWV+HKDVXQGHUWDNHQWKHFKDOOHQJLQJSURFHVVRIUHEXLOGLQJKLVUHODWLRQVKLS

ZLWKKLVGDXJKWHUZKRKDVEHHQGHYDVWDWHGE\KHUIDWKHU¶VYHU\SXEOLFODFNRIFRQILGHQFHLQKHU

DELOLW\WRVXFFHHGRQWKH$&7H[DP*RUGRQKDVVSHQWHYHQPRUHWLPHZLWKKLVVRQDQGKLV

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UHVXOW RI KLV FRQGXFW KHUH *RUGRQ KDG WR UHVLJQ IURP WKH 3XEOLFRORU %RDUG  $V 5XWK /DQGH

6KXPDQWKH)RXQGHUDQG3UHVLGHQWRI3XEOLFRORUH[SODLQV³6LQFHWKHJRDORI3XEOLFRORUKDV

EHHQWRSURYLGHVWXGHQWVWKHQHFHVVDU\DFDGHPLFVRFLDOHPRWLRQDODQGOHDGHUVKLSVNLOOVWRKHOS

WKHPPDNHWKHLUZD\RXWRISRYHUW\DQGLQWRWKHPLGGOHFODVV±DQGIRUWKHSDVWGHFDGH*RUGRQ¶V

OHDGHUVKLSKDVOHGWKHZD\´See([$ /DQGH6KXPDQOHWWHU 6KXPDQH[SODLQVWKDWGHVSLWH

UHVLJQLQJIURPWKHERDUG*RUGRQKDVLQFUHDVHGKLVDFWLYLW\ZLWKWKHRUJDQL]DWLRQRYHUWKHODVWVL[

PRQWKVId.+HKDVVSHQWKRXUVZRUNLQJGLUHFWO\ZLWKFKLOGUHQLQ3XEOLFRORUSURJUDPVDQGKHOSLQJ

SDLQWD%URQ[SXEOLFVFKRROWKDWZDVLQGLVUHSDLU*RUGRQKDVKHOSHG3XEOLFRORUZRUNWKURXJK

YDULRXVDGPLQLVWUDWLYHVWUXFWXUDOIXQGUDLVLQJEXGJHWLQJVXFFHVVLRQDQGRWKHURSHUDWLRQDOLVVXHV

,Q DQ HIIRUW WR SURYLGH PRUH GLUHFW DVVLVWDQFH WR WKH DWULVN FKLOGUHQ 3XEOLFRORU VHUYHV *RUGRQ

UHVHDUFKHGGHVLJQHGDQGWDXJKWDYHU\ZHOOUHFHLYHGFODVVRQEDVLFILQDQFLDOOLWHUDF\DQGOLIHVNLOOV




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DOORZ*RUGRQWRYROXQWHHU2QHRUJDQL]DWLRQWKDWGXHWRKLVSHUVLVWHQFHDJUHHGWRZRUNZLWK

*RUGRQ LV D KLJKO\ UHJDUGHG ORFDO &RQQHFWLFXW FKLOGUHQ¶V DJHQF\ DQG VKHOWHU WKDW KDV DVNHG WR

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-XQH KH KDV YROXQWHHUHG WKHUH DW OHDVW RQFH D ZHHN LQFOXGLQJ WHDFKLQJ KLV ILQDQFLDO OLWHUDF\

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        *RUGRQKDVFRQWLQXHGWRFRQWULEXWHILQDQFLDOO\WRWKHFKDULWLHVDQGFDXVHVWKDWPHDQDJUHDW

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LQFOXGLQJ 3XEOLFRORU $O]KHLPHU¶V 'UXJ 5HFRYHU\ )RXQGDWLRQ /HJDO $LG 6RFLHW\ &KLOGUHQ RI

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LQOLJKWRIWKHGHIHQGDQW¶VSHUVRQDOKLVWRU\DQGFKDUDFWHULVWLFVQDWXUHDQGFLUFXPVWDQFHVRIWKH

RIIHQVHQHHGWRDYRLGXQZDUUDQWHGVHQWHQFLQJGLVSDULWLHVQHHGIRUVSHFLILFDQGJHQHUDOGHWHUUHQFH

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FRQVLVWHQWO\GHVFULEHGDVDPDQRIUHPDUNDEOHFKDUDFWHUZKRURXWLQHO\MXPSVLQWRFULVHVWRKHOS

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       *RUGRQ KDV ORQJ VHUYHG DV WKH URFN DW WKH FHQWHU RI WKH &DSODQ IDPLO\  $ VHQWHQFH RI

LQFDUFHUDWLRQZRXOGEHGHYDVWDWLQJSDUWLFXODUO\EHFDXVHLWZRXOGWDNHKLPDZD\IURPKLVVRQZKR

LVYHU\GHSHQGHQWRQKLPDVZHOODVKLVZLIHDQGGDXJKWHU7KHZRUGVRI*RUGRQ¶VLPPHGLDWH

IDPLO\PHPEHUVDUHFRPSHOOLQJHYLGHQFHRIZKDWNLQGRISHUVRQ*RUGRQ&DSODQLV

       $FFRUGLQJWRKLVZLIHRIWZHQW\\HDUV³*RUGRQ¶VGHGLFDWLRQJHQHURVLW\DQGNLQGQHVVDUH

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H[SODLQV ³0\ VRQ¶V RQO\ WKRXJKWV ZKHQ KH ZDV DUUHVWHG ZHUH IRU KRZ LW ZRXOG DIIHFW RWKHUV

HVSHFLDOO\KLVIDPLO\DQGSDUWLFXODUO\PH+HFDOOHGPHWRDSRORJL]HWRPHKHZDVZRUULHGWKDW

LWZRXOGDIIHFWP\KHDOWK´Id.'U&DSODQFRQWLQXHV³*RUGRQLQWKLVVLWXDWLRQWKLVDOPRVWELEOLFDO

GRZQIDOOFRXOGQRWEHPRUHUHPRUVHIXODQGVHOIIODJHOODWLQJ+HLVPRUHGHWHUPLQHGWKDQHYHUWR

FRQWLQXH DQG H[SDQG KLV JRRG ZRUNV ZKLFK VR LURQLFDOO\ DUH KHDYLO\ ZHLJKWHG WR KHOSLQJ

GLVDGYDQWDJHGDQGSURPLVLQJVWXGHQWVDQGRWKHUVLQQHHG+LVIDPLO\HVSHFLDOO\QHHGVKLP´Id.

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FRQVFLHQWLRXVDQGGHGLFDWHGSHUVRQZKRVHUHJDUGDQGVXSSRUWIRUKLVIDPLO\KDVEHHQSDUDPRXQW´

DQGVKHGHVFULEHVKRZLWLV*RUGRQZKRDOZD\VDQVZHUVWKHEHOOGXULQJGLIILFXOWIDPLO\WLPHVId.

:KHQ0V3HUVNLQZDVJRLQJWKURXJKDQH[WUHPHO\GLIILFXOWGLYRUFH³QRWRQO\ZDV*RUGRQDEOH

WRWDONPHWKURXJKP\HPRWLRQDOSDLQEXWKHZDVDEOHWRDVVLVWLQEURNHULQJDVHWWOHPHQWWKDWZDV

IDLUDQGDYRLGHGWKHQHFHVVLW\IRUSURWUDFWHGOLWLJDWLRQ+HORRNHGRXWIRUPHDQGP\FKLOGUHQLQD

ZD\WKDWZHQWDERYHDQGEH\RQGKLVUROHDVDVLEOLQJ´Id.7KHOHWWHUVIURP0V3HUVNLQ¶VWZR

VRQV²*RUGRQ¶V QHSKHZV²UHLWHUDWH WKDW *RUGRQ ZDV D NH\ VRXUFH RI VWDELOLW\ GXULQJ WKHLU

IRUPDWLYH \HDUV ZKHQ WKHLU SDUHQWV ZHUH JRLQJ WKURXJK WKLV GLIILFXOW GLYRUFH  See ([ $ 7

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                        6WDWHPHQWVRI5HPRUVH

        7KLV&RXUWKDVHPSKDVL]HGDWSULRUVHQWHQFLQJKHDULQJVWKHLPSRUWDQFHRIHDUO\DFFHSWDQFH

RI UHVSRQVLELOLW\  $V QRWHG DERYH *RUGRQ¶V SXEOLF DFNQRZOHGJHPHQW RI KLV PLVFRQGXFW ZDV

LPPHGLDWH DQG IRUFHIXO +H GLG QRW KLGH IURP KLV JXLOW DQG VKDPH  +H WXUQHG WKH KXPLOLDWLQJ

VSRWOLJKW RQ KLV UHPRUVH E\ SXEOLFO\ DSRORJL]LQJ DQG DQQRXQFLQJ KLV LQWHQWLRQ WR SOHDG JXLOW\

ZKLFKOHGRWKHUGHIHQGDQWVWRIROORZZLWKVLPLODUVWDWHPHQWVRIFRQWULWLRQ,WLVEH\RQGTXHVWLRQ



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WKDWLQWKLVZLGHO\FRYHUHGFDVH*RUGRQKDVEHHQYHU\SXEOLFLQKLVH[SUHVVLRQRIUHPRUVHDQG

DFFHSWDQFH RI UHVSRQVLELOLW\ GRLQJ HYHU\WKLQJ LQ KLV SRZHU WR SURPRWH WKH JHQHUDO GHWHUUHQFH

HIIHFWVRIWKLVSURVHFXWLRQ

        *RUGRQ LV SDUWLFXODUO\ DVKDPHG RI EHLQJ LQYROYHG LQ D FDVH WKDW FHQWHUV RQ WKH FRUUXSW

DVSHFWVWKDWWRRRIWHQDFFRPSDQ\ZHDOWKDQGSULYLOHJHLQWKHFROOHJHDGPLVVLRQVSURFHVV*RUGRQ¶V

SURIHVVLRQDOVXFFHVVZDVEXLOWRQFRXQWOHVVKRXUVRIKDUGZRUNDQGFOLHQWGHGLFDWLRQHYHU\VWHS

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KH VWUHVVHG WKDW WKHUH DUH QR VKRUWFXWVWRVXFFHVV<HW*RUGRQNQRZVWKDWZKHQKHZDVWHVWHG

GXULQJDGLIILFXOWIDPLO\WLPHWKURXJKWKHLQWURGXFWLRQWR5LFN6LQJHUKHIDLOHGKLVYDOXHVDQG

GHHSHQHGWKHF\QLFLVPWKDWIORZVWKURXJKRXUSXEOLFGLVFRXUVH)RUWKLVUHDVRQ*RUGRQ¶VSXEOLF

VWDWHPHQWV KDYH LQFOXGHG DSRORJLHV WR DOO VWXGHQWV DQG IDPLOLHV JRLQJ WKURXJK WKH FROOHJH

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*RUGRQZDVD³FKDPSLRQRIJHQGHUDQGUDFLDOGLYHUVLW\DQGDOHDGHUE\H[DPSOHRIµJLYLQJEDFN¶

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EXGGLQJFDUHHULQWKHPDOHGRPLQDWHGZRUOGRIILQDQFHDQGHQFRXUDJHGKHUWRVWDUWKHURZQSULYDWH

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0V'XSX\LVQRZRQHRIYHU\IHZZRPHQUXQQLQJDWHFKQRORJ\IRFXVHGSULYDWHHTXLW\ILUPId. 

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LVRIWHQUXOHGE\SHGLJUHH±FRPLQJIURPWKHULJKWVFKRROZLWKWKHULJKW*3$ZLWKWKHULJKWORRN

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*RUGRQ¶VFROOHJHIULHQG3HGUR&DVDQRYDGHVFULEHGKRZLQDIWHU+XUULFDQH0DULDGHYDVWDWHG

3XHUWR5LFR*RUGRQZKRKDGQRSHUVRQDOFRQQHFWLRQWRWKHVLWXDWLRQRUJDQL]HGDFKDUWHUHGSODQH

WRGHOLYHUIRRGZDWHUDQGPHGLFDOVXSSOLHVDQGWUDQVSRUWKXUULFDQHYLFWLPVEDFNWRWKHPDLQODQG

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        *RUGRQKDVDOVRUHSHDWHGO\KHOSHGSHRSOHLQFULVLVUDQJLQJIURPOHJDOLVVXHVWRGLYRUFHWR

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       $QRWKHU VWULNLQJ H[DPSOH RI *RUGRQ¶V VHOIOHVVQHVV FRPHV IURP 5RELQ )OLFNHU ZKR KDV

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                 ,QVXP0V)OLFNHURIIHUVDQREVHUYDWLRQWKDWLVWKHWKHPHRIVRPDQ\RIWKHVH

OHWWHUVVXEPLWWHGLQVXSSRUWRI*RUGRQ&DSODQ³KHKDVEHHQWKHSHUVRQWRZKRPZHFRXOGDOZD\V

WXUQGD\RUQLJKWLQHYHQWKHGDUNHVWKRXUV´Id.                                                   

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        7KHVHW\SHVRIVWRULHVIURP*RUGRQ¶VIDPLO\FROOHDJXHVHPSOR\HHVFOLHQWVDQGIULHQGV

DUHHQGOHVV&RXQVHOKDVEHHQIORRGHGZLWKOHWWHUVRQ*RUGRQ¶VEHKDOIPDQ\IURPSHRSOH*RUGRQ

KDVVWD\HGIULHQGVZLWKIRUGHFDGHVHYHQGDWLQJEDFNWRHOHPHQWDU\VFKRRO7KHUHLVDFRQVWDQW

WKHPH WR WKHVH OHWWHUV²*RUGRQ &DSODQ KDV UHSHDWHGO\ JLYHQ RI KLV WLPH DQG UHVRXUFHV WR KHOS

SHRSOHLQQHHGIURPIDPLO\PHPEHUVWRURXWLQHDFTXDLQWDQFHV$QQD:KLWH*RUGRQ¶VIRUPHU

DGPLQLVWUDWLYHDVVLVWDQWUHFRXQWVKRZ*RUGRQUHSHDWHGO\VXSSRUWHGKHUDQGKHUGDXJKWHUVRYHUWKH




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\HDUVSee([$ :KLWHOHWWHU *RUGRQFRQWULEXWHGWRKHUGDXJKWHU¶VFROOHJHVDYLQJVDFFRXQW

IRXQGKHUDWRSGRFWRUIRUEDFNVXUJHU\DQGSDLGIRU0V:KLWH¶VIDPLO\WRIO\WR(QJODQGWRYLVLW

KHUEURWKHUId. *RUGRQ¶VLPSDFWRQWKHSHRSOHDW:LOONLH)DUUDQGKLVFOLHQWVLVVWULNLQJ7KLVLV

HYLGHQWIURPWKHUDQJHRISHRSOHDW:LOONLH)DUUZKRKDYHZULWWHQWRVXSSRUW*RUGRQIURP)UHG

5HLGLQWKHPDLOURRPsee([$WRWKHFXUUHQW&KDLURIWKHILUP6WHYHQ*DUWQHUsee([$

WRRWKHUODZ\HUVELOOLQJVWDIIDQGFOLHQWV

          *RUGRQQHYHUH[SHFWHGWRRQHGD\DSSHDUEHIRUHDIHGHUDOMXGJHDVDFULPLQDOGHIHQGDQW

VHHNLQJPHUF\DQGFRPSDVVLRQ+HFHUWDLQO\GLGQRWOHDGWKHOLIHUHFRXQWHGVRHORTXHQWO\LQDOORI

WKHVHOHWWHUVDQWLFLSDWLQJWKDWRQHGD\KHZRXOGQHHGWKHPWRSXWKLVOLIHLQFRQWH[WIRUWKHMXGJH

ZKRKROGVKLVIDWHLQKHUKDQGV2QHGRHVQRWSXOOWRJHWKHUDVHQWHQFLQJSDFNDJHRIWKLVQDWXUH

RQO\ ZKHQ WKH FKLSV DUH GRZQ  $V IRUPHU :LOONLH )DUU &KDLU -DFN 1XVEDXP VWDWHG *RUGRQ¶V

³VWHOODUUHSXWDWLRQ´DQGOLIHRIJRRGGHHGVZDV³EXLOWEULFNE\EULFN´RYHUGHFDGHVSee([$

    1XVEDXPOHWWHU $OOWRJHWKHUWKHVHOHWWHUVSRUWUD\DPDQZKRVHYDVWFRQWULEXWLRQVWRVRFLHW\

JUHDWO\RXWZHLJKWKHWUDJLFODSVHRIMXGJPHQWWKDWEULQJVKLPEHIRUHWKLV&RXUWIRUVHQWHQFLQJ1R

SHUVRQVKRXOGEHMXGJHGVROHO\E\WKHLUZRUVWPRPHQW

          %    *RUGRQ¶V,QYROYHPHQWLQWKLV&DVHDQG+LV&RQYLFWLRQ+DYH$OUHDG\&DXVHG
                 'UDVWLF&RQVHTXHQFHVIRU+LPDQG+LV)DPLO\

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DVXFFHVVIXOODZSUDFWLFH*RUGRQ¶VZRUNHWKLFDQGGHGLFDWLRQWRKLVFOLHQWVDOORZHGKLPWRULVHWR

WKH SRVLWLRQ RI ILUP FRFKDLU  ,Q RQH IHOO VZRRS DOO RI WKDW YDQLVKHG²KLV SDUWQHUVKLS KLV

UHSXWDWLRQKLVDELOLW\WRSUDFWLFH*RUGRQZDVSODFHGRQOHDYHIURP:LOONLH)DUUXSRQKLVDUUHVW

DQGVKRUWO\WKHUHDIWHUUHVLJQHGIURPWKHILUP$VQRWHGHDUOLHUWKH$WWRUQH\*ULHYDQFH&RPPLWWHH

LQ 1HZ <RUN FRPPHQFHG GLVFLSOLQDU\SURFHHGLQJVDJDLQVW*RUGRQRQ-XO\*RUGRQ

WKURXJK KLV FRXQVHO FRQVHQWHG WR DQ LQWHULP VXVSHQVLRQ RI KLV ODZ OLFHQVH GXULQJ WKHVH

SURFHHGLQJVDQG*RUGRQH[SHFWVWKDWWKHLQWHULPVXVSHQVLRQZLOOVRRQEHRUGHUHGE\WKH&RXUW

7KDWLQWHULPRUGHUZLOOEHIROORZHGE\DIXUWKHUIXOOGLVFLSOLQDU\SURFHHGLQJDJDLQVWKLPDQGD

OLNHO\IXUWKHURUGHURIVXVSHQVLRQ7RSXWWKHPDWWHUEOXQWO\*RUGRQ¶VSURIHVVLRQDOOLIHKDVEHHQ

GHVWUR\HG

        ,QFRQWUDVWWKHSURIHVVLRQDOFRQVHTXHQFHVIDFHGE\RWKHU9DUVLW\%OXHVSDUHQWVZLOOQRWEH

QHDUO\DVVHYHUH)RUH[DPSOHSRSXODUPRYLHVVWDUULQJ0V+XIIPDQFRQWLQXHWREHUHOHDVHGSee

When They See Us 1HWIOL[ Otherhood 1HWIOL[ 0DQ\RWKHUGHIHQGDQWVOLNH0U

$EERWW WKHFKDLUPDQDQGIRXQGHURIDIRRGDQGEHYHUDJHGLVWULEXWLRQDQGSDFNDJLQJFRPSDQ\ 


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0V %XFNLQJKDP DQ DXWKRU DQG WKH IRXQGHU&(2 RI D PDUNHWLQJ ILUP  0U )OD[PDQ WKH

IRXQGHU&(2RIDUHDOHVWDWHGHYHORSPHQWILUP 0U+XQHHXV DYLQH\DUGRZQHU DQG0U6ORDQH

RZQWKHLURZQEXVLQHVVHVDQGOLNHO\ZLOOEHDEOHWRFRQWLQXHZLWKWKRVHHQWHUSULVHVSRVWFRQYLFWLRQ

7KLVLVQRWWRGLPLQLVKWKHFRQVHTXHQFHVIDFLQJRWKHUGHIHQGDQWVEXWRQO\WRLOOXVWUDWHWKDWWKH

SURIHVVLRQDOUHSHUFXVVLRQVIRU*RUGRQDUHOLNHO\WREHGLVSURSRUWLRQDWHO\VHYHUHZKHQFRPSDUHG

WRRWKHUGHIHQGDQWVLQWKLVFDVHSee, e.g.United States v. Stewart)G G&LU 

    VHQWHQFLQJFRXUWDSSURSULDWHO\FRQVLGHUHGIDFWWKDWGHIHQGDQW¶VFRQYLFWLRQ³PDGHLWµGRXEWIXOWKDW

WKHGHIHQGDQWFRXOGSXUVXH¶KLVFDUHHUDVDQDFDGHPLFRUWUDQVODWRU´DV³>L@WLVGLIILFXOWWRVHHKRZ

DFRXUWFDQSURSHUO\FDOLEUDWHDµMXVWSXQLVKPHQW¶LILWGRHVQRWFRQVLGHUWKHFROODWHUDOHIIHFWVRID

SDUWLFXODUVHQWHQFH´ United States v. Pauley)G WK&LU  VHQWHQFLQJFRXUW

DSSURSULDWHO\FRQVLGHUHGIDFWWKDWGHIHQGDQW³ORVWKLVWHDFKLQJFHUWLILFDWHDQGKLVVWDWHSHQVLRQ´DV

RQHUHDVRQMXVWLI\LQJDGRZQZDUGYDULDQFH 

                       5HSXWDWLRQDO'DPDJHDQG3XEOLF9LWULRO

          *RUGRQ KDV VXIIHUHG LPPHDVXUDEOH SXEOLF KXPLOLDWLRQ DQG UHSXWDWLRQDO GDPDJH  ,Q

DGGLWLRQWRUHVLJQLQJKLVODZILUPSDUWQHUVKLS*RUGRQZDVFRPSHOOHGWRUHVLJQIURPWKH%RDUGRI

3XEOLFRORUDQGIURPWKH'HDQ¶V3ODQQLQJ&RXQVHODW)RUGKDP/DZ(YHQILQDQFLDOLQVWLWXWLRQV

ZLWKZKLFK*RUGRQKDGVXVWDLQHGUHODWLRQVKLSVRYHUVHYHUDOGHFDGHVDEUXSWO\VHYHUHGWLHVZLWK

KLP6LQFHKLVJXLOW\SOHDLQWKLVFDVHWKHILQDQFLDOLQVWLWXWLRQVZLWKZKRP*RUGRQDQGKLVIDPLO\

KDYHGRQHEXVLQHVVIRU\HDUV²-30RUJDQDQG&LWLEDQN²KDYHXQLODWHUDOO\WHUPLQDWHGKLPDVD

FOLHQW-XVWGD\VEHIRUHWKHILOLQJRIWKLV0HPRUDQGXP*RUGRQZDVDEUXSWO\QRWLILHGE\KLVLQVXUHU

WKDWLQ2FWREHUDOORIKLVLQVXUDQFHFRYHUDJH²SHUVRQDOKRPHRZQHUVDXWRXPEUHOODDQGRWKHU²

ZLOOEHFDQFHOHG

          *RUGRQ KDV DOVR EHHQ WKH WDUJHW RI YLWULROLF DWWDFNV EHFDXVH RI WKH ZLGHVSUHDG RXWUDJH

FDXVHGE\WKH9DUVLW\%OXHVVFDQGDODVDZKROH$IWHUKLVDUUHVWKHUHFHLYHGHPDLOVWKUHDWVDQG


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KDWHPDLODWKRPHIURPFRPSOHWHVWUDQJHUVGHQLJUDWLQJKLVFKDUDFWHUDQGH[SUHVVLQJDGHVLUHWRVHH

KLPSXQLVKHGVHYHUDORIZKLFKZHUHXQDSRORJHWLFDOO\DQWL6HPLWLFDQGUHIHUUHGWR*RUGRQDVD

³GLUW\ -HZ´ DQG ³-HZ ODZ\HU´  +H KDV EHHQ WKH VXEMHFW RI FRQVWDQW DWWDFNV RQ VRFLDO PHGLD

SODWIRUPVDQGLQWKHQHZVPHGLD*RUGRQZLOOOLYHZLWKWKLVVWLJPDIRUWKHUHVWRIKLVOLIH

           &         $YRLGLQJ 8QZDUUDQWHG 'LVSDULWLHV ZLWK 6HQWHQFHV IRU 6LPLODUO\ 6LWXDWHG
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                                 2WKHU9DUVLW\%OXHV3DUHQWV

           )HOLFLW\+XIIPDQOLNH*RUGRQSDUWLFLSDWHGLQ5LFN6LQJHU¶VH[DPFKHDWLQJVFKHPH7KH\

HQJDJHGLQWKHH[DFWVDPHFRQGXFWDQGUHFHLYHGWKHH[DFWVDPHEHQHILWSD\PHQWLQH[FKDQJHIRU

DQLQIODWHGWHVWVFRUH7KH\DOVRERWKDFFHSWHGUHVSRQVLELOLW\LPPHGLDWHO\WKRXJK*RUGRQZDV

HYHQPRUHFRQVSLFXRXVLQLVVXLQJDSXEOLFVWDWHPHQWDQGVSHDNLQJRQFDPHUD7KHIDFWWKDW5LFN

6LQJHUDQDGPLWWHGFRQPDQXQLODWHUDOO\GHFLGHGWRFKDUJH*RUGRQPRUHWKDQVRPHRWKHUSDUHQWV

IRUWKHWHVWFKHDWLQJVFKHPHGRHVQRWLWVHOIPDNH*RUGRQPRUHFXOSDEOHWKDQWKRVHRWKHUSDUHQWV

7KH&RXUWVHQWHQFHG0V+XIIPDQWRGD\VLQSULVRQIROORZHGE\\HDURIVXSHUYLVHGUHOHDVH

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EHHQVWULSSHGRIKLVSURIHVVLRQDOOLFHQVH

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ZDWHUSRORUHFUXLW1RWRQO\GLG0U6ORDQH¶VVRQQRWSOD\ZDWHUSROR0U6ORDQHHQOLVWHGKLVVRQ

WRFUHDWHGRFWRUHGZDWHUSRORDFWLRQVKRWVLQWKHEDFN\DUGSRRO7KH&RXUWVHQWHQFHG0U6ORDQH

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  *RUGRQ GLG KLUH D ODZ\HU WR DGYLVH KLP DERXW KRZ WR DGGUHVV WKH $&7¶V GHFLVLRQ WR ZLWKKROG 5&¶V VFRUH D
SRVVLELOLW\+XIIPDQQHYHUKDGWRFRQIURQW*RUGRQGLGWKLVEHFDXVHWKH$&7ZDVUDLVLQJTXHVWLRQVDERXWZKHWKHU
H[WUD WLPH KDG EHHQ SURSHUO\ SURYLGHG WR 5& EXW QR RQH IURP WKH $&7 ZDV UHVSRQGLQJ WR *RUGRQ¶V UHSHDWHG
LQTXLULHV)RUWKHUHDVRQVGLVFXVVHGDERYHWKHUHLVQRTXHVWLRQWKDW5&TXDOLILHGIRUH[WUDWLPHORQJEHIRUH*RUGRQ
HYHUPHW5LFN6LQJHU*RUGRQKLUHGWKLVODZ\HUWRSUHVHQWWKLVPHGLFDOLQIRUPDWLRQWRWKH$&7*RUGRQDQGKLV
DWWRUQH\QHYHUWKUHDWHQHGWRVXHWKH$&7RUWDNHDQ\DFWLRQRWKHUWKDQSUHVHQWWKHOHJLWLPDWHPHGLFDOLQIRUPDWLRQ7R
WKHH[WHQWWKH&RXUWFRQVLGHUVWKLVDVSHFWRI*RUGRQ¶VFRQGXFWDQDJJUDYDWLQJIDFWRUFRPSDUHGWR0V+XIIPDQWKLV
DORQHGRHVQRWZDUUDQWPRUHSULVRQWLPH


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WRPRQWKV¶LQFDUFHUDWLRQIROORZHGE\\HDUVRIVXSHUYLVHGUHOHDVHZLWKKRXUVRIFRPPXQLW\

VHUYLFHDQGDILQH*RUGRQ¶VFRQGXFWVWDQGVLQVWDUNFRQWUDVWWRWKDWRI0U6ORDQH(YHQ

SXWWLQJDVLGHWKHKXJHSD\PHQWPRVWQRWDEO\0U6ORDQHDJUHHGWREULEHDFROOHJHHPSOR\HHDQG

HQVQDUHGKLVVRQLQKLVIUDXGXOHQWVFKHPH$QGZKHUHDV0U6ORDQHVHHPLQJO\FRQWLQXHVWRFODLP

WKDWKHGLGQRWKDYHIXOONQRZOHGJHRIKRZWKHSD\PHQWVKHPDGHWR0U6LQJHUZRXOGEHXVHG

*RUGRQKDVDFFHSWHGFRPSOHWHDQGVROHUHVSRQVLELOLW\IRUKLVDFWLRQVIURPGD\RQH

          6WHSKHQ 6HPSUHYLYR SDLG  WR 0U 6LQJHU WR IDFLOLWDWH KLV VRQ¶V DGPLVVLRQ WR

*HRUJHWRZQ8QLYHUVLW\DVDSXUSRUWHGWHQQLVUHFUXLW+HFRUUXSWHGKLVVRQ¶VLQWHJULW\E\KDYLQJ

KLPVHQGIUDXGXOHQWHPDLOVWRWKH*HRUJHWRZQWHQQLVFRDFK0RUHRYHUHYHQDIWHUSOHDGLQJJXLOW\

LQWKLVFDVH0U6HPSUHYLYRVXHG*HRUJHWRZQWRSUHYHQWWKHVFKRROIURPH[SHOOLQJKLVVRQDQG

HYHQDUJXHGLQKLV6HQWHQFLQJ0HPRUDQGXPWKDWKHZDVD³YLFWLP´RI5LFN6LQJHU¶VVFKHPHV

7KH &RXUW VHQWHQFHG 0U 6HPSUHYLYR WR  PRQWKV¶ LPSULVRQPHQW IROORZHG E\  \HDUV RI

VXSHUYLVHGUHOHDVHZLWKKRXUVRIFRPPXQLW\VHUYLFHDQGDILQH,QVKDUSFRQWUDVW

WR0U6HPSUHYLYR*RUGRQKDVRZQHGXSWRWKHIDFWWKDWKHFRPPLWWHGDFULPHDFFHSWHGIXOO

UHVSRQVLELOLW\DQGGHPRQVWUDWHGFOHDUUHPRUVHIRUKLVDFWLRQV

                      6LPLODUO\ 6LWXDWHG 'HIHQGDQWV LQ 2WKHU 7HVW&KHDWLQJ &DVHV +DYH
                         $OPRVW 1HYHU 5HFHLYHG 3ULVRQ 7LPH DQG 2QO\ 5DUHO\ +DYH (YHQ
                         5HFHLYHG6HQWHQFHVRI7LPH6HUYHG

         6LPLODUO\VLWXDWHGGHIHQGDQWVZKRKDYHEHHQFRQYLFWHGLQRWKHUIHGHUDOWHVWFKHDWLQJFDVHV

KDYHQRWEHHQVHQWHQFHGWRDGGLWLRQDOSULVRQWLPHHYHQDWKLJKHU*XLGHOLQHVOHYHOV,QWKLVGLVWULFW

VHYHUDO LQGLYLGXDOV ZHUH FKDUJHG ZLWK FKHDWLQJ RQ WKH 7HVW RI (QJOLVK DV D )RUHLJQ /DQJXDJH

    ³72()/´ H[DPLQ7KHGHIHQGDQWVHLWKHUKLUHGRWKHUVWRWDNHWKH72()/H[DPIRUWKHP

RUWRRNWKHWHVWIRURWKHUVXVLQJDGLIIHUHQWQDPH)RXURIWKHILYHGHIHQGDQWVKDGD*XLGHOLQHV

UDQJHRIWRPRQWKVUnited States v. Huang1RFU '0DVV$SU United

States v. Zhang1RFU '0DVV2FW United States v. Wang1RFU


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States v. Wang1RFU '0DVV$SU $OOILYHGHIHQGDQWVUHFHLYHGDVHQWHQFH

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SUREDWLRQ

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GLVWULFWVKDYHUHFHLYHGQRQFXVWRGLDOVHQWHQFHV,QIRUH[DPSOHPXOWLSOHGHIHQGDQWVZHUH

FRQYLFWHG LQ D 72()/ FKHDWLQJ VFKHPH²LQFOXGLQJ VRPH GHIHQGDQWV ZKR ZHUH FRQYLFWHG

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VHUYHG  See United States v. Alsugair 1R FU '1- 2FW    United States v.

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%RDUG(GXFDWLRQDO7HVWLQJ6HUYLFHDFNQRZOHGJHWKHUHDUHWKRXVDQGVRIVXVSHFWHGFKHDWLQJFDVHV

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ODZHQIRUFHPHQWFRXQVHOKDVQRWLGHQWLILHGDQ\LQVWDQFHVRIDSDUHQWRUVWXGHQWZKRSDLGWRKDYH

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SRVLWLRQDVFRFKDLURIDSUHVWLJLRXVLQWHUQDWLRQDOODZILUPRQO\IXUWKHUGULYHKRPHWKHSRLQWWKDW

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